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                        Exhibit 2
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 Guidance for Industry
     Genotoxic and Carcinogenic
  Impurities in Drug Substances and
 Products: Recommended Approaches


                                 DRAFT GUIDANCE
           This guidance document is being distributed for comment purposes only.

Comments and suggestions regarding this draft document should be submitted within 60 days of
publication in the Federal Register of the notice announcing the availability of the draft
guidance. Submit comments to the Division of Dockets Management (HFA-305), Food and
Drug Administration, 5630 Fishers Lane, rm. 1061, Rockville, MD 20852. All comments
should be identified with the docket number listed in the notice of availability that publishes in
the Federal Register.

For questions regarding this draft document contact David Jacobson-Kram at 301-796-0175.




                                                                                            Peng Dong

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                        U.S. Department of Health and Human Services
                                Food and Drug Administration
                       Center for Drug Evaluation and Research (CDER)

                                      December 2008
                                 Pharmacology and Toxicology



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Guidance for Industry
    Genotoxic and Carcinogenic
 Impurities in Drug Substances and
Products: Recommended Approaches

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               Center for Drug Evaluation and Research (CDER)

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                        Pharmacology and Toxicology
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 1                            Guidance for Industry1
 2                Genotoxic and Carcinogenic Impurities in Drug
 3              Substances and Products: Recommended Approaches
 4
 5
 6
 7
 8   This draft guidance, when finalized, will represent the Food and Drug Administration’s (FDA’s) current
 9   thinking on this topic. It does not create or confer any rights for or on any person and does not operate to
10   bind FDA or the public. You can use an alternative approach if the approach satisfies the requirements of
11   the applicable statutes and regulations. If you want to discuss an alternative approach, contact the FDA
12   staff responsible for implementing this guidance. If you cannot identify the appropriate FDA staff, call
13   the appropriate number listed on the title page of this guidance.
14
15
16
17
18   I.      INTRODUCTION
19
20   This guidance is intended to inform pharmaceutical manufacturers of the Food and Drug
21   Administration’s (FDA’s) current thinking regarding genotoxic and carcinogenic impurities in
22   drug substances and drug products, including biologic products that are regulated by the Center
23   for Drug Evaluation and Research (CDER). This guidance provides recommendations on how to
24   evaluate the safety of these impurities during clinical development (investigational new drug
25   applications (INDs)) and for marketing applications (new drug applications (NDAs), biologics
26   license applications (BLAs), and abbreviated new drug applications (ANDAs)). This guidance
27   provides recommended exposure thresholds on the clinical exposure to genotoxic or
28   carcinogenic impurities. Also provided are additional testing and exposure threshold
29   recommendations for situations where there are known or theoretical safety concerns based on
30   available data, structural alerts, and/or assessment of the synthetic pathway.
31
32   This guidance is intended as an adjunct to the ICH guidances for industry Q3A(R2) Impurities in
33   New Drug Substances, Q3B(R2) Impurities in New Drug Products, and Q3C(R3) Impurities:
34   Residual Solvents that deal with the topic of impurities in a more general fashion. 2 This
35   guidance provides specific recommendations regarding the safety qualification of impurities with
36   known or suspected genotoxic or carcinogenic potential while the ICH guidances provide only
37   general direction. This guidance addresses synthetic impurities and degradants in drug
38   substances, but does not otherwise address the genotoxicity or carcinogenicity of actual drug
39   substances or intended drug product ingredients. This guidance also applies to known starting
40   materials or anticipated reaction products.

     1
      This guidance has been prepared by the Office of New Drugs in the Center for Drug Evaluation and Research
     (CDER) at the Food and Drug Administration.
     2
      See http://www.fda.gov/cder/guidance/index.htm. The FDA has incorporated revision 3 (R3) of ICH Q3C into the
     guidance for industry Q3C — Tables and List, which is posted on the CDER guidance Web site.


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41
42   This guidance describes a variety of ways to characterize and reduce the potential lifetime cancer
43   risk associated with patient exposure to genotoxic and carcinogenic impurities both during
44   clinical development and after approval. These approaches include:
45
46         •   Changing the synthetic and/or purification routes to minimize the formation and/or
47             maximize the removal of the relevant impurity.
48
49         •   Allowing a maximum daily exposure target of 1.5 μg per day for the relevant impurity as
50             a general target for marketed products, though higher levels may be acceptable during
51             clinical development. Certain impurities with structural alerts suggesting particularly
52             high genotoxic and carcinogenic potential would not be appropriate for this general
53             threshold approach and would need to be evaluated on a case-by-case basis.
54
55         •   Further characterizing the genotoxic and carcinogenic risk via mechanism of action or
56             weight-of-evidence approaches, or through additional studies to better support
57             appropriate impurity specifications.
58
59   This guidance also applies to drug products approved before the issuance of this guidance, but
60   only in the presence of a specific safety signal that suggests the potential for an increased
61   carcinogenic risk associated with the presence of an impurity or degradant, or with regard to a
62   supplemental application for a previously approved drug product that proposes a significant
63   change in the drug product’s approved labeling that suggests the potential for an increased
64   carcinogenic risk associated with the presence of an impurity or degradant (e.g., new indication,
65   new dosage regimen, longer duration of use). Applicants also should take these
66   recommendations into consideration when preparing supplemental manufacturing submissions to
67   NDAs, BLAs, and ANDAs, such as submissions proposing new formulations or new synthetic
68   routes. Although this guidance applies to impurities present in biologic products regulated by
69   CDER, it is noted that, in most cases, the genotoxicity assays conducted for small molecule
70   pharmaceuticals are not applicable to biopharmaceuticals. Likewise, the standard assessment of
71   the genotoxic potential of impurities in biopharmaceuticals may not be appropriate in many cases
72   since they may include residual host cell proteins and nucleic material, fermentation components,
73   and bacterial and viral components and do not include organic chemicals typically found in small
74   molecule manufacturing.
75
76   FDA’s guidance documents, including this guidance, do not establish legally enforceable
77   responsibilities. Instead, guidances describe the Agency’s current thinking on a topic and should
78   be viewed only as recommendations, unless specific regulatory or statutory requirements are
79   cited. The use of the word should in Agency guidances means that something is suggested or
80   recommended, but not required.
81
82
83   II.       BACKGROUND
84
85   Compounds that have been demonstrated to induce genetic mutations, chromosomal breaks,
86   and/or chromosomal rearrangements are considered genotoxic and have the potential to cause


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 87   cancer in humans. Exposures to even low levels of these impurities may be of significant
 88   concern. Therefore, the identification limits provided in ICH Q3A(R2) and ICH Q3B(R2) may
 89   not be acceptable for genotoxic or carcinogenic impurities. For instance, under some scenarios
 90   the limits in these ICH guidances would allow a genotoxic or carcinogenic impurity to be present
 91   in a drug product at a level resulting in exposures up to 3,000 µg per day without needing
 92   identification. Although genotoxic and carcinogenic properties can be acceptable for some
 93   active pharmaceutical ingredients (APIs) depending on clinical circumstances (e.g., cancer
 94   chemotherapies), impurities in drug substances and drug products generally do not have
 95   beneficial effects and may impose a risk without associated benefit. Therefore, manufacturers
 96   should strive to achieve the lowest levels of genotoxic or carcinogenic impurities that are
 97   technically feasible and/or levels that convey no significant cancer risk.
 98
 99   Currently available guidances that address issues related to impurities and residual solvents
100   include ICH Q3A(R2), ICH Q3B(R2), and ICH Q3C(R3). In addition, the European Medicines
101   Agency’s (EMEA) Committee for Medicinal Products for Human Use (CHMP) published a
102   guideline regarding limits of genotoxic impurities. 3 These documents are discussed below to
103   provide a background to this guidance, but the inclusion of the EMEA guideline in this
104   background discussion should not be interpreted as an FDA endorsement of that document.
105
106              A.      ICH Guidances for Industry Relating to Drug Impurities and Residual
107                      Solvents
108
109   ICH Q3A(R2) and ICH Q3B(R2) address the issue of impurities in drug substances and drug
110   products, respectively. ICH Q3A(R2) addresses the identification and qualification of impurities
111   in drug substances approved after the issuance of the guidance, and ICH Q3B(R2) addresses only
112   those impurities in drug products approved after the issuance of the guidance that are classified
113   as degradation products of the drug substance or reaction products of the drug substance with an
114   excipient and/or immediate container closure system. These guidances define an impurity as any
115   component of the drug substance or drug product other than the chemical entity that makes up
116   the drug substance or an excipient in the drug product. Depending on the quantity of drug
117   substance or drug product to which a patient is exposed, these guidances recommend thresholds
118   for the identification, reporting, and qualification of impurities. Qualification, as defined by the
119   two guidances, is the process of acquiring and evaluating data that establishes the biological
120   safety of an individual impurity (or degradation product) or a given impurity (or degradation)
121   profile at the level(s) specified. 4 Higher or lower thresholds for qualification can be considered
122   appropriate based on scientific rationale and level of concern. 5
123
124   These guidances recommend when, after consideration of factors such as the patient population
125   and duration of use, qualification studies of an impurity are appropriate. Part of the battery of
126   tests used to qualify an impurity could include assays to determine whether the impurity is


      3
          Guideline on the Limits of Genotoxic Impurities (EMEA guideline), June 2006 (http://www.emea.europa.eu).
      4
          See the Glossary sections in ICH Q3A(R2) and ICH Q3B(R2).
      5
          See ICH Q3A(R2), section VII, and ICH Q3B(R2), section VI.


                                                               3
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127   genotoxic. These guidances also recommend that, when considered appropriate, assays to
128   assess genotoxic potential include the “minimum screen” of in vitro assays: a gene mutation
129   assay and a chromosomal aberration assay. 7 ICH Q3A(R2) indicates that “such studies can be
130   conducted on the new drug substance containing the impurities to be controlled, although studies
131   using isolated impurities can sometimes be appropriate.” 8 A similar recommendation is included
132   in ICH Q3B(R2).
133
134   It should be noted, however, that allowing genotoxicity assessment of the impurity as it is
135   present with the drug substance, rather than in isolation, renders the genotoxicity assessments
136   much less sensitive. For example, the potent mutagens that are typically used as positive
137   controls in the bacterial mutation assay, such as 9-aminoanthracene and methyl
138   methanesulfonate, when present with a noncytotoxic drug substance at the minimal level for
139   qualification, would not be detected by these genotoxicity assays because the maximum
140   concentration of the impurity at the limit concentration of the drug substance would not be
141   sufficient to produce a genotoxic response in the assays. If the drug substance is cytotoxic, this
142   approach of assessing the impurity as it is present with the drug substance would be even more
143   insensitive, since the drug’s toxicity would further limit the level at which the impurity could be
144   tested.
145
146   Although the ICH guidances provide some recommendations on the types of tests that should be
147   conducted, the guidances do not provide specific recommendations on how to proceed if one or
148   both of the genetic toxicology tests are positive; they simply state that additional testing, removal
149   of the impurity, or lowering the level of the impurity should be considered.
150
151   ICH Q3C(R3) recommends acceptable concentration limits or permissible daily exposures for
152   various classes of solvents, which are one type of impurity. The guidance does not, however,
153   include a recommendation on limiting exposure based upon concerns for genotoxic potential.
154   The guidance recommends only that mathematical models be used for setting exposure limits in
155   cases where reliable carcinogenicity data are available.
156
157   The ICH guidances on impurities and residual solvents do not apply to drug substances or drug
158   products used during the clinical research stages of development.
159
160               B.       EMEA Proposed Guideline on Limits of Genotoxic Impurities
161
162   In June 2006, the EMEA’s CHMP published a guideline on the limits of genotoxic impurities in
163   support of a marketing application. 9 A subsequent CHMP safety working party published a



      6
          See ICH Q3A(R2), section VII and Attachment 3, and ICH Q3B(R2), section VI and Attachment 3.
      7
          Ibid.
      8
          See ICH Q3A(R2), section VII.
      9
          EMEA guideline (http://www.emea.europa.eu)



                                                              4
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164   question and answers document to provide clarification on the 2006 guideline. 10 This guideline
165   recommends dichotomizing genotoxic impurities into those for which there is “sufficient
166   (experimental) evidence for a threshold-related mechanism” and those “without sufficient
167   (experimental) evidence for a threshold-related mechanism.” The genotoxic impurities with
168   sufficient evidence for a threshold-related mechanism would be addressed using methods
169   outlined in ICH Q3C(R3) for Class 2 solvents. This approach calculates a “permitted daily
170   exposure,” which is derived using the “no observed effect level” or, alternatively, the “lowest
171   observed effect level” from the most relevant animal study and incorporating a variety of
172   uncertainty factors. Examples of genotoxic compounds that might fall into this category include
173   compounds that induce aneuploidy by interfering with the mitotic spindle, compounds that
174   interfere with the activity of topoisomerase, and/or compounds that inhibit DNA synthesis.
175
176   For genotoxic impurities without sufficient evidence for a threshold-related mechanism, the
177   guideline proposes a policy of controlling levels to “as low as reasonably practicable” (called the
178   ALARP principle). The ALARP approach specifies that every effort should be made to prevent
179   the formation of such impurities during drug substance synthesis and, if that is not possible,
180   technical effort should be made post-synthesis to reduce impurities (e.g., purification steps).
181   Compounds that fall into this category are those that interact with DNA either directly or
182   indirectly, such as alkylating agents, intercalating agents, or agents that can generate free
183   radicals. Since any exposure to these agents can convey some level of carcinogenic risk, and
184   since complete elimination of genotoxic impurities from drug substances is often unachievable,
185   the presence of a concerning impurity requires the implementation of a concept of an acceptable
186   risk level. Methods for the derivation of acceptable risk levels are discussed in ICH Q3C(R3),
187   Appendix 3, in reference to Class 1 carcinogenic solvents.
188
189   Although the approach described above is acceptable, in most instances mechanistic data
190   sufficient to allow for an assessment of whether there is a threshold mechanism are lacking.
191   Furthermore, it is relatively uncommon for there to be sufficient data to allow for a quantitative
192   risk assessment. The EMEA guideline recognizes these limitations and, therefore, proposes the
193   use of a “threshold of toxicological concern” (TTC) for genotoxic impurities. The TTC refers to
194   a threshold exposure level to compounds that does not pose a significant risk for carcinogenicity
195   or other toxic effects. The EMEA guideline recommends a TTC of 1.5 μg per day for all but a
196   highly potent subset of compounds. This threshold corresponds to an incremental 10-5 lifetime
197   risk of cancer, a risk level that the EMEA considers justified because of the benefits derived
198   from pharmaceuticals. The guideline indicates that a TTC value higher than 1.5 µg per day may
199   be acceptable based on a weight-of-evidence approach to the profile of genotoxicity results, in
200   situations where the anticipated human exposure will be short-term, for the treatment of life-
201   threatening conditions, when life expectancy is less than 5 years, or where the impurity is a
202   known substance and human exposure will be much greater from other sources. The derivation
203   of the TTC is discussed in more detail in section IV.B.1.
204
205   The approach taken in the EMEA guideline for setting an exposure limit for genotoxic or
206   carcinogenic impurities in drug products in support of a marketing application is reasonable.
207   However, issues regarding the presence of genotoxic or carcinogenic impurities often occur

      10
        Question & Answers on the CHMP Guideline on the Limits of Genotoxic Impurities, June 2008
      (http://www.emea.europa.eu)


                                                           5
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208   during the clinical development stages. Therefore, this guidance provides recommendations for
209   acceptable exposure thresholds during clinical development as well as for marketing
210   applications.
211
212
213   III.   RECOMMENDED APPROACHES FOR INITIAL ASSESSMENT OF
214          GENOTOXIC POTENTIAL OF IMPURITIES
215
216   If adequate data characterizing genotoxic and carcinogenic potential are not already available,
217   impurities identified in drug substances or drug products at levels exceeding the stated
218   qualification thresholds in the relevant ICH guidances should be assessed for genotoxic potential
219   in an initial minimal screen. Assays conducted with the impurity in isolation are recommended.
220   However, studies with the drug substance containing, or spiked with, the impurity can be
221   considered in cases where it can be demonstrated that synthesizing sufficient amounts of the
222   impurity is infeasible.
223
224   As mentioned, the ICH guidances on impurities do not apply to drug substances or drug products
225   for use in clinical trials. However, in cases where the presence of an impurity with genotoxic or
226   carcinogenic potential is identified or where such an impurity may be expected based on the
227   synthetic pathway, steps should be taken during the clinical development stage to address safety
228   concerns associated with these impurities.
229
230   If an impurity that is present at levels below the ICH qualification thresholds is identified, the
231   impurity should be evaluated for genotoxicity and carcinogenicity based on structural activity
232   relationship (SAR) assessments (i.e., whether there is a structural alert). This evaluation can be
233   conducted via a review of the available literature or through a computational toxicology
234   assessment; commonly used software includes MDL-QSAR, MC4PC, and Derek for Windows.
235   The conduct of an in vitro mutation assay (i.e., bacterial reverse mutation assay) generally would
236   be an acceptable initial screen for impurities with an identified alert, since positive signals in
237   computational toxicology programs are often derived from the results of bacterial mutation
238   assays and mutagenic carcinogens are considered to operate through nonthreshold-related
239   mechanisms. An assessment in a mammalian cell assay may be needed for impurities with
240   specific structural groups, such as carbamates, that are not well characterized in bacterial assays,
241   or for compounds that are toxic to E. coli and Salmonella, such as antibiotics.
242
243   If the initial evaluation of the genotoxic potential of an impurity is negative, no further
244   genotoxicity studies are recommended and the impurity should be considered to be adequately
245   qualified regarding its genotoxic potential. It should be noted that in cases where it is necessary
246   from a feasibility standpoint to conduct the assays with the drug substance containing, or spiked
247   with, the impurity, the proposed acceptance criterion should be commensurate with the level of
248   impurity observed in clinical, stability, and/or production batches, taking into consideration the
249   manufacturing and analytical variability. This acceptance criterion should not exceed the level
250   present in the drug batch used in the genotoxicity assay and should be supported by the relevant
251   qualification thresholds discussed in the ICH guidances or supporting general toxicity
252   information.
253


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254   In some cases, the structure of an impurity leading to the structural alert is shared with the API.
255   The genotoxic potential of such an impurity can be evaluated through the standard testing of the
256   API if the chemical environment for the alerting structure of the compounds is deemed
257   comparable for the reactivity potential.
258
259
260   IV.     RECOMMENDED APPROACHES FOR HANDLING GENOTOXIC AND
261           CARCINOGENIC IMPURITIES
262
263   Positive results in one or more genotoxicity assays or other information indicating a carcinogenic
264   potential, such as positive data from a carcinogenicity study with the impurity, should be
265   addressed further. Recommended approaches for handling genotoxic or carcinogenic impurities
266   are described in this section and are summarized in Table 2 at the end of section IV.C. A
267   decision tree is also included in Appendix A.
268
269           A.      Prevention of Genotoxic and Carcinogenic Impurity Formation
270
271   Since drug-related impurities presumably provide limited, if any, therapeutic benefits and
272   because of their potential to cause cancer in humans, every feasible technical effort should be
273   made to prevent the formation of genotoxic or carcinogenic compounds during drug substance
274   synthesis or drug product manufacturing. However, we recognize that completely preventing the
275   formation of or removing an impurity of concern may not be possible in many cases.
276
277           B.      Reduction of Genotoxic and Carcinogenic Impurity Levels
278
279   In lieu of completely preventing the formation of a genotoxic or carcinogenic impurity, steps to
280   reduce the level of impurity present in the drug substance or drug product should be considered.
281   The following sections discuss acceptable thresholds to support safety during clinical
282   development and for a marketing application. Analytical methodologies should be used that can
283   adequately identify impurities of concern at levels associated with the relevant qualification
284   thresholds. This threshold approach should be applied only in the absence of adequate
285   qualification data (data that establish the biological safety of an impurity at the level specified)
286   for the given impurity.
287
288           1.      Acceptable Levels to Support Marketing Applications
289
290   In general, an exposure level of 1.5 µg per person per day for each impurity can be considered an
291   acceptable qualification threshold for supporting a marketing application. Any impurity found at
292   a level below this threshold generally should not need further safety qualification for
293   genotoxicity and carcinogenicity concerns. The threshold is an estimate of daily exposure
294   expected to result in an upper bound lifetime risk of cancer of less than 10-6 (one in a million), a
295   risk level that is thought to pose negligible safety concerns. The threshold was based on an
296   analysis of the carcinogenic potencies of 477 chemicals and was derived from the probability
297   distribution of carcinogenic potencies of those compounds. 11 Subsequent analyses of an

      11
        Fiori, JM and RD Meyerhoff, 2002, Extending the Threshold of Regulation Concept: De Minimis Limits for
      Carcinogens and Mutagens, Reg Toxicol Pharmacol, 35, 209-216.


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298   expanded carcinogenic potency database of more than 700 carcinogens further confirmed the
299   threshold. 12 An additional analysis of subsets of highly potent carcinogens suggested that a
300   threshold of 0.15 µg per day, corresponding to a 10-6 lifetime risk of cancer, may be more
301   appropriate for chemicals with structural alerts for potential genotoxicity.13 However, there are
302   some compounds containing certain structural groups (aflatoxin-like-, N-nitroso-, and azoxy-
303   structures) that have extremely high carcinogenic potency and are excluded from the threshold
304   approach.
305
306   Federal regulatory agencies in the United States, such as the Environmental Protection Agency
307   (EPA) (in the context of ambient water quality criteria), typically use a 10-6 lifetime risk of
308   cancer to determine negligible risk from chemical exposures. 14 This approach supports an
309   acceptable threshold level for genotoxic or carcinogenic impurities of 0.15 µg per day.
310   However, other regulatory bodies have proposed a 10-5 level as an acceptable cancer risk. 15,16
311   Given that there is an overriding expected benefit of an approved drug product, a daily exposure
312   level of 1.5 μg per day, associated with a 10-5 lifetime risk of cancer, can be acceptable for most
313   genotoxic or carcinogenic impurities for a marketing application. This level of exposure is
314   expected to produce a negligible increase in carcinogenic risk based on the existing background
315   rate of human cancer and the conservative nature of cancer risk assessments. Additionally, this
316   threshold is considered to be low enough to ensure that the presence of a compound with an
317   uncharacterized genotoxic or carcinogenic potential would not significantly alter the risk-benefit
318   ratio of a drug product, even if the impurity is later shown to be a carcinogen.
319
320   The database from which the exposure threshold for genotoxic or carcinogenic impurities is
321   derived includes studies that primarily use oral administration, though a smaller number use the
322   inhalation route. Although the recommended threshold approach applies to all drug products
323   regardless of the intended route of administration, the qualification threshold of 1.5 µg per day
324   may not be appropriate for some routes (e.g., dermal, ophthalmic) because of the lack of a
325   relevant database from which an exposure threshold can be derived. Applicants should contact
326   specific drug review divisions regarding acceptable approaches in these cases.
327
328   As part of this threshold approach, applicants can conduct and provide to the FDA an SAR
329   assessment to identify structural similarities to known carcinogens. In cases where significant
330   structural similarities to a known carcinogen are identified, an estimate of the potential human

      12
           Ibid.
      13
        Kroes, R, AG Renwick, M Cheeseman, J Kleiner, I Mangelsdorf, A Piersma, B Schilter, J Schlatter, F Schothorst,
      JG Vos, and G Würtzen, 2004, Structure-Based Threshold of Toxicological Concern (TTC): Guidance for
      Application to Substances Present at Low Levels in the Diet, Food Chem Toxicol, 42, 65-83.
      14
        U.S. Environmental Protection Agency, Office of Water and Office of Science and Technology, 2000,
      Methodology for Deriving Ambient Water Quality Criteria for the Protection of Human Health, document number
      EPA-822-B-00-004, section 1.5.3 (http://www.epa.gov/waterscience/humanhealth/method/complete.pdf).
      15
           See EMEA guideline, section 5.2.3.
      16
        World Health Organization Guidelines for Drinking-Water Quality, 2nd ed., Vol. 2, 1996, Health Criteria and
      Other Supporting Information, Geneva, World Health Organization, section 12.4.2
      (http://www.who.int/water_sanitation_health/dwq/gdwq2v1/en/index1.html).


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331   cancer risk can be calculated based on the available information for the confirmed carcinogen.
332   This assessment can result in an increase in the acceptable exposure threshold for impurities that
333   are highly similar to carcinogens with relatively low potency, or a reduction in the limit for
334   impurities that are highly similar to relatively potent carcinogens.
335
336   The EPA guidance Supplemental Guidance for Assessing Susceptibility from Early-Life
337   Exposure to Carcinogens (EPA/630/R-03/003F) regarding cancer susceptibility in pediatric
338   populations indicates that children exposed to mutagenic carcinogens between age 0 (birth) and
339   16 have an increased cancer risk over a 70-year lifetime when compared to adults. 17 EPA
340   concludes that cancer risks generally are higher from early-life exposure than from similar
341   exposure durations later in life and recommends the application of adjustment factors to risk
342   calculations to account for this observation. EPA recommends an adjustment factor of 10 for
343   exposures before 2 years of age (i.e., spanning a 2-year time interval from the first day after birth
344   up until a child’s second birthday), which represents an approximation of the weighted geometric
345   mean tumor incidence ratio from juvenile or adult exposures in repeated dosing studies. In the
346   absence of data to calculate a specific dose-response adjustment factor for exposures between 2
347   and less than 16 years of age, EPA recommends an adjustment factor of 3, which represents an
348   intermediate level of adjustment and reflects a midpoint between the 10-fold adjustment for the
349   first two years of life and no adjustment (i.e., 1-fold) for adult exposures. However, the EPA
350   guidance acknowledges that the resultant increases in cancer risk are relatively small for
351   exposures that continue with fair uniformity over a lifetime. We recommend that this increase in
352   susceptibility to carcinogens in pediatric populations be considered when determining the
353   acceptable impurity level for a given drug product.
354
355   The threshold approach for genotoxic or carcinogenic impurities limits the likelihood that any
356   individual impurity in a given drug product will present more than a 10-5 excess cancer risk, but
357   the approach is not intended to ensure an aggregate excess cancer risk of less than 10-5. This
358   means the threshold approach to individual impurities is not intended to limit the overall excess
359   cancer risk to 10-5 from all impurities in a single drug product or from multiple drug products
360   concomitantly administered. As discussed above, this approach is consistent with approaches
361   taken by various regulatory bodies such as EPA, World Health Organization, and EMEA in
362   implementing threshold levels for carcinogenic risk when no benefit from the expected exposure
363   is perceived. However, in cases where a class or family of structurally similar impurities is
364   identified and is expected to have similar mechanisms resulting in their genotoxic or
365   carcinogenic potential, the total daily exposure to the related compounds should be evaluated
366   relative to the recommended threshold exposure.
367
368   We recognize that drug products are often indicated for short-term use. However, for most
369   drugs, these threshold considerations still apply since a drug may be used multiple times by the
370   same individual or may be used outside of its approved indication. A detailed rationale should
371   be provided to the FDA to support limits higher than generally considered appropriate for a
372   marketing application.
373



      17
           See http://cfpub.epa.gov/ncea/index.cfm.


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374           2.      Acceptable Levels during Clinical Development
375
376   The previous section describes the qualification threshold for genotoxic or carcinogenic
377   impurities in support of a marketing application. Issues related to genotoxic impurities also can
378   arise during a drug product’s clinical development period and can affect the assessment of safety
379   for conducting the program. Some flexibility in the previously described threshold level can be
380   applied during the investigational stages, since clinical trials vary widely in duration from short-
381   term (single dose to 4 weeks) to years and the qualification threshold for a marketing application
382   is based on lifetime risk estimates. On the other hand, it should be recognized that during early
383   clinical development, a benefit of the drug cannot be assumed. We recognize that the ability to
384   identify and control drug-related impurities during early developmental stages is limited because
385   of issues related to scale and maturity of production processes. Taking all these considerations
386   into account, higher daily levels of exposure to potentially genotoxic impurities may be
387   acceptable during the clinical development of the drug product compared to what is appropriate
388   for a marketed drug product.
389
390   Bos et al. reviewed the derived cancer risk from short-term, high-dose exposure to a genotoxic
391   carcinogen relative to the same cumulative dose distributed over a lifetime (virtually safe
392   dose). 18 Briefly, the authors state that only a limited number of animal studies have assessed the
393   comparative tumor incidence from short-term versus long-term exposures with similar
394   cumulative doses. From those studies that do exist, dose rate correction factors (factors by which
395   a specific dose of a chemical carcinogen at long-term, low-dose rates should be multiplied to
396   derive the expected tumor incidence from short-term, high-dose rates) ranged from unity to 8.3.
397   The authors conclude that the most pragmatic approach to calculate acceptable short-term
398   exposures to known genotoxic carcinogens is to linearly extrapolate the short-term exposure
399   from the acceptable lifetime exposure or virtually safe dose.
400
401   Acceptable daily intakes of genotoxic impurities during clinical development are presented in
402   Table 1, based on the linear extrapolation approach described by Bos et al. The impurity
403   threshold exposures for exposure durations of up to 12 months are based on a 10-6 cancer risk
404   level (0.15 µg per day for a lifetime exposure), since these trials often include healthy subjects
405   for whom there is no expected health benefit and the efficacy of the drug may still be uncertain.
406   The values are derived from a linear extrapolation from the qualification threshold using the
407   maximum duration of dosing for each time period specified in Table 1. In addition, these values
408   incorporate an uncertainty factor of 2 to allow for deviations from the linear extrapolation model.
409   For trials greater than 1-year duration, the threshold value is identical to the threshold for a
410   marketing application and is based on a 10-5 cancer risk level (1.5 µg per day derived from
411   lifetime exposures); subjects in these trials generally have the condition or disease being studied
412   and are more certain to derive benefit from the treatment than subjects in early trials. When
413   determining the acceptable impurity threshold exposure, the specifics of the patient population in
414   the clinical trial should be evaluated.
415



      18
        Bos, PMJ, B Baars, TM Marcel, and MTM van Raaij, 2004, Risk Assessment of Peak Exposure to Genotoxic
      Carcinogens: A Pragmatic Approach, Toxicol Letters, 151:43-50.


                                                          10
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416         Table 1: Acceptable Qualification Thresholds for Genotoxic and Carcinogenic
417                  Impurities
                                                    Duration of Clinical Trial Exposure
                                  < 14 days   14 days to   1 mo to       3 mos to     6 mos to      > 12 mos
                                              1 mo         3 mos         6 mos        12 mos
             Genotoxic and
             carcinogenic         120         60             20           10            5           1.5
             impurity threshold
             (µg/day)
418
419           C.       Additional Characterization of Genotoxic and Carcinogenic Risk
420
421   In cases where attempts to prevent the formation of an impurity of concern and/or to reduce the
422   amount of the impurity to an acceptable level as per Table 1 are not possible, further
423   characterization of the genotoxic and carcinogenic potential should be conducted. The guidance
424   for industry and review staff Recommended Approaches to Integration of Genetic Toxicology
425   Study Results describes the FDA’s current thinking regarding appropriate additional evaluations
426   that can be conducted. 19 Briefly, these concepts include the consideration of the mechanism of
427   action, weight of evidence, or the conduct of additional supportive studies. These concepts also
428   can be considered relevant for genotoxic impurities.
429
430   In addition to the above considerations, the conduct of an SAR evaluation of an impurity may
431   provide useful information. When a significant structural similarity to a known carcinogen is
432   identified, the drug substance and drug product acceptance criteria (typically in units of parts per
433   million or percent) can be set at a level that is commensurate with the risk assessment specific to
434   that of the known compound. As noted previously, the proposed factors should be considered in
435   light of manufacturing batch data.
436
437   Table 2 summarizes the recommended approaches for characterizing the presence and addressing
438   the safety of genotoxic and carcinogenic impurities depending on the clinical development stage.
439




      19
       We update guidances periodically. To make sure you have the most recent version of a guidance, check the
      CDER guidance Web page at http://www.fda.gov/cder/guidance/index.htm.


                                                            11
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440    Table 2: Recommended Approaches Based on Development Stage
         Clinical Development      Recommended Approach
         Stage
         IND                       •   Evaluate identified impurities for genotoxic and carcinogenic risk via
                                       SAR assessment
                                   •   Conduct assay for the presence of anticipated genotoxic and carcinogenic
                                       impurities
                                   •   If impurity with genotoxic and carcinogenic potential is identified:
                                       − Modify synthetic pathway to eliminate the impurity, if possible
                                       OR
                                       − Conduct genotoxicity assays to characterize the genotoxic potential
                                            if not already known
                                       AND/OR
                                       − Set specification to that associated with a potential daily impurity
                                            exposure supported by compound-specific risk assessment or
                                            relevant qualification threshold (see Table 1)
         Marketing application     •   Evaluate identified impurities for genotoxic and carcinogenic risk via
         (NDA, BLA, or ANDA)           SAR assessment
                                   •   If impurity with genotoxic and carcinogenic potential is identified:
                                       − Conduct genotoxicity assays to characterize the genotoxic potential
                                            if not already known
                                       AND/OR
                                       − Set specification to that associated with a potential daily impurity
                                            exposure supported by compound-specific risk assessment or 1.5 µg
                                            per day threshold
441
442            D.    Considerations for Flexibility in Approach
443
444   The previous sections are intended to be general recommendations to consider when developing
445   a drug product in which a potentially genotoxic or carcinogenic impurity is identified. We
446   recognize that these approaches may not necessarily apply to every development program, and
447   flexibility in the application of these recommendations may be appropriate. When applying the
448   recommendations, consideration should be given to the drug product’s clinical development
449   stage, the maximum duration of drug administration at that stage, the proposed indication (e.g.,
450   treatment of a life-threatening condition versus a less serious condition), the patient population
451   (e.g., adults versus children), and the structural similarity of an impurity to a compound of
452   known carcinogenic potency. In some of these cases, acceptance criteria higher than the
453   recommended thresholds can be supported in the presence of a potential pharmacological benefit
454   to patients. In rare cases, such as in the presence of highly potent carcinogens, decreases in the
455   threshold also may be warranted. The appropriateness of a flexible approach should be informed
456   by the feasibility of controlling impurity levels and the capabilities of the current process.
457




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458                          APPENDIX A: DECISION TREE FLOW DIAGRAM
459

                                               Identify impurity



                              Observed level exceeds relevant ICH qualification            No
                             threshold or is less than ICH qualification threshold                 No further
                                        but displays a structural alert?                            action


                                                            Yes
                              Yes
        Consider alternate               Able to prevent formation of impurity?
        synthetic pathway



                                                      No



              Reduce the level of impurity to that                   Conduct appropriate
               associated with a daily exposure ≤                    genotoxicity assays
              qualification threshold for genotoxic
              and carcinogenic impurity* (1.5 µg
                     per day or see Table 1)
                                                                                                       No
                                                             Impurity considered genotoxic
                                                              based on assay results/weight
                                                                      of evidence?

                                                                                     Yes
               Set specification based      Yes
                    on calculated                          Adequate evidence for threshold
                   permitted daily                                  mechanism?
                      exposure
                                                                                     No
                                                            Consider restricting or rejecting
                                                        proposed use based on risk-benefit ratio




460
           *Safety threshold approach for genotoxic and carcinogenic impurities is not applicable to compounds with
           adequate data to derive compound-specific risk assessment or for those with SARs to high potency carcinogens.
           In addition, the approach may not be appropriate for some routes of administration (e.g., dermal, ophthalmic)
           because of the lack of a relevant database from which a threshold limit can be derived.




                                                              13
